                                                                                    DISTRICT OF OREGON
                                                                                          FILED
                                                                                          March 23, 2020
                                                                                  Clerk, U.S. Bankruptcy Court



          Below is an order of the court.




                                                                       _____________________________
                                                                              TRISH M. BROWN
                                                                            U.S. Bankruptcy Judge




                              IN THE UNITED STATES BANKRUPTCY COURT

                                      FOR THE DISTRICT OF OREGON


         In re:                                         Case No. 19-34107-tmb11

         BODY BY PASTRAMI, LLC,                         ORDER GRANTING DEBTOR’S
                                                        MOTION TO EXTEND DEADLINE
                                Debtor.


                  THIS MATTER having come before the Court on Debtor’s Motion to Extend Time to

        file Debtor’s Rule 2015 Financial Report filed by Debtor Body By Pastrami, LLC.

        The Court having reviewed the Motion, and being otherwise duly advised; now, therefore,

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Page 1 of 2       ORDER GRANTING MOTION TO EXTEND TIME                               MOTSCHENBACHER & BLATTNER LLP
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                              Case 19-34107-tmb11      Doc 61    Filed 03/23/20
               IT IS HEREBY ORDERED as follows:

               1) The Motion is GRANTED.

               2) Debtor shall file its February Rule 2015 Financial Report by April 21, 2020.



                                                           ###



        Order Presented by:

        MOTSCHENBACHER & BLATTNER LLP

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                                              PARTIES TO SERVE:

        ECF Electronic Service: All participants.

        Service via First-Class Mail: None.




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